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                                                 'I.



                          UNITED STATES DISTRICT COURT
                                                                                  FEB 2~ 2019
                          WESTERN DISTRICT OF VIRGINIA
                                   ABINGDON
                                                                                 ;::.~~(
 UNITED STATES OF AMERICA

               v.                                           Case No.

 ADRIAN JOSE ROMERO
      aka "Dre"
      aka "Dri"
      aka Joseph Wayne Green
 ALISON MORGAN ATKINSON                                     Violations:   21 U.S.C. § 841
 VERONICA MARTINEZ                                                        21 u.s.c. § 846
 CLAYTON LEE TATE

                                       INDICTMENT

                                        COUNT ONE

        The Grand Jury charges that:

        1. On or about and between January 1, 2017, and May 16, 2018, in the Western

 District of Virginia and elsewhere, ADRIAN JOSE ROMERO, also known as "Dre", also

 known as "Dri", also known as Joseph Wayne Green, ALISON MORGAN ATI<INSON,

 VERONICA MARTINEZ, CLAYTON LEE TATE, and others known and unknown to

 the Grand Jury, knowingly conspired with each other and others to knowingly and

 intentionally distribute and possess with intent to distribute 50 grams or more of

 methamphetamine (actual), its salts, isomers, and salts of its isomers, a Schedule II

 controlled substance, a Schedule II controlled substance, all in violation of Tide 21, United

 States Code, Section 841(a)(1).

        2. All.in violation ofTide 21, United States Code, Sections 846 and 841(b)(1)(A)(vili).




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 USA0#2018R00252


Case 1:19-cr-00011-JPJ-PMS Document 5 Filed 02/28/19 Page 1 of 3 Pageid#: 19
                                 COUNTS TWO AND THREE

        The G.tand Juty tha.tges that

         1. On or about the following dates, in the Western District ofVirginia and

 elsewhere, VERONICA MARTINEZ and CLAYTON LEE TATE, as p.tincipals and aiders

 and abettors, distributed and possessed with the intent to distribute 50 gi:ams or more of a

 mixture or sub_stance containing a detectable amount of methamphetamine, its salts, isomers,.

 and salts of its isomers, a Schedule II controlled substance:

 CT#                        DATE
 2                          05/05/18
 3                          05/08/18

        2. All in violation of Title 18, United States Code, Section 2, and Title 21, United

 States Code, Sections 841(a)(1) and (b)(1)(B)(viii).

                                  NOTICE OF FORFEITURE

       · 1.    Upon conviction of one or more of the felony offenses alleged in this Indictment, the

 defendants shall forfeit to the United States:

              a. any property constituting, or derived from, any proceeds obtained, directly
                 or indirectly, as a result of said offenses, pursuant to 21 U.S.C.
                 § 853(a)(l).

              b. any property used, or intended to be used, in any manner or part, to
                 commit, or to facilitate the commission of said offenses, pursuant to 21
                 U.S.C. § 853(a)(2).

              c. any fireann used or intended to be used to facilitate the transportation,,
                 sale, receipt, possession, or concealment of controlled substances and/or
                 raw materials, as described in 21 U.S.C. § 881(a)(l) and (2), and any
                 proceeds traceable to such property, pursuant to 21 U.S.C. § 881(a)(ll)
                 and 28 U.S.C. § 2461(c).

        2. The property to be forfeited to the United States includes but is not limited to the

 following property:
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 USA0#2018R00252


Case 1:19-cr-00011-JPJ-PMS Document 5 Filed 02/28/19 Page 2 of 3 Pageid#: 20
             a.          Money Judgment

                         An undetermined sum of U.S. Currency and all interest and proceeds
                         traceable thereto, in that such sum in aggregate was obtained directly or
                   J     indirectly as a result of said offenses or is traceable to such property.

             b.         Firearms and Ammunition

                         1. Taurus 9mmpistol, model709 slim, SN: TJX27311
                         2.   Ruger,.45 caliber Pistol, SN: 861-28338
                         3.   20 Rounds Ammunition, .45 caliber
                         4.   17 Rounds Ammunition, 9mm
                         5.   Mossberg Maverick 12 gauge shotgun, Model 88, SN: MV75807J
                         6.   1 box containing numerous rounds of .45 caliber ammunition

             c.        . U.S. Currency

                         1. $2,647.00 in U.S. Currency
                         2. $1,485:00 in U.S. Currency

         3.. If any of the above-described forfeitable property, as a result of any act or omission of

  the defendant:

             a.    cannot be located upon the exercise of due dil(gence;
             b.    has been transferred or sold to, or deposited with a third person;
             c.    has been placed beyond the jurisdiction of the Court;
             d.    has been substantially diminished in value; or          .
             e.    has been commingled with other property which cannot be subdivided
                   without difficulty;

  it is the intent of the United States to seek forfeiture of any other property of the defendant up to

  the value of the above-described forfeitable property, pursuant to 21 U.S.C. § 853(p).


  A TRUE BILL, this' '!( -11.             day of Fc"6ruq.l'j2019.


                                                                   /s/ Grand Jury Fo.reperson


 J~::cRIM
  'f.HOMAS T. CULLEN
  United States Attorney

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  t[SA0#2018R00252

Case 1:19-cr-00011-JPJ-PMS Document 5 Filed 02/28/19 Page 3 of 3 Pageid#: 21
